       Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 1 of 8




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA

JOCYNTIA MARIE BANNER           :                     CIVIL ACTION NO.:
                                :
VERSUS                          :                     JUDGE:______________________
                                :
ST. JAMES PARISH D/B/A          :                     MAGISTRATE JUDGE:
RIVER PARISHES TOURIST,         :                     _____________________________
CONVENTION AND VISITORS         :
BUREAU, THE ST. JAMES PARISH    :
COUNCIL, TIMOTHY P. ROUSSEL AND :
GARY BOE                        :

                                          COMPLAINT

       NOW COMES, through undersigned counsel, Plaintiff Jocyntia Marie Banne resident of the

Parish of St. John the Baptist, State of Louisiana, who respectfully avers as follows:

                                                 1.

       Made Defendants herein are:

       A.      ST. JAMES PARISH, a division of the State of Louisiana;

       B.      TIMOTHY P. ROUSSEL, President of St. James Parish in his official capacity;

       C.      THE ST. JAMES PARISH COUNCIL, a political subdivision of St. James Parish

               Government;

       D.      THE RIVER PARISH CONVENTION, TOURIST AND VISITORS DISTRICT,

               D/B/A/ River Parishes Tourist Commission, a division of St. James Parish and the

               State of Louisiana;

       E.      GARY BOE, executive director of the River Parish Convention, Tourist and Visitors

               District, D/B/A/ River Parishes Tourist Commission a division of St. James Parish

               and the State of Louisiana in his official capacity as director thereof.

                                                 2.
        Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 2 of 8




        Jurisdiction is proper in this Court pursuant to 28 U.S.C. § 1331 in that the causes of action

outlined herein arise under the Constitution and laws of the United States, non-exclusively, Title VII

of the civil rights act of 1964, 42 U.S.C. § 2000e, et. seq., and 42 U.S.C. § 1981.

                                                   3.

        This Court has Supplemental Jurisdiction over all plaintiffs’ Louisiana State Law claims

pursuant to 28 U.S.C. § 1367(a) in that the State Law claims are so related to the Original

Jurisdiction claims under Title VII that they form part of the same case or controversy.

                                                   4.

        Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1), (2) and (3) in that the

events in violation of law occurred in St. James Parish and the Defendants principal place of

business is in St. James Parish, State of Louisiana within the jurisdiction of the United States District

Court, Eastern District of Louisiana.

                                                   5.

        Plaintiff has received her right to sue letter from the Equal Employment Opportunity

Commission thereby satisfying her administrative remedies according to law. (See attached Exhibit

1).

                                                   6.

        Defendants are vicariously and solidarily liable for the actions of its employees, managers

and supervisors for all damages alleged herein.

                                                   7.

        Defendants are indebted unto plaintiff for all sums as are reasonable under the premises,

including but not limited to compensatory damages, special damages, exemplary damages, punitive

damages, attorney's fees, interest on attorney's fees, costs, with judicial interest thereon from the date
       Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 3 of 8




of judicial demand until paid pursuant to Louisiana State Law and the Laws of the United States of

America.

                                                  8.

       Plaintiff Jocyntia Marie Banner began employment with Defendant St. James Parish on or

about November 1, 2012 as a full time communications manager for the River Parish Convention,

Tourist and Visitors District, D/B/A/ River Parishes Tourist Commission, a division of St. James

Parish in St. James Parish, State of Louisiana.

                                                  9.

       Plaintiff has brown skin color and her race is black of African American descent.

                                                  10.

       Plaintiff’s sex is female.

                                                  11.

       Plaintiff’s job duties involved promoting and supporting tourism of the antebellum plantation

homes along the Mississippi River that once enslaved Africans as an unpaid labor force for the

enrichment of their masters in the new world.

                                                  12.

       Plaintiff helped preserve and teach about this history, employing her own background and

knowledge having grown up in the South and in this area.

                                                  13.

        Plaintiff was directly discriminated against in that she was qualified for promotion to

executive director of the River Parish Convention, Tourist and Visitors District, D/B/A/ River

Parishes Tourist Commission, a division of St. James Parish and plaintiff was passed over for the

promotion by a less qualified white male, made Defendant herein Gary Boe.
        Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 4 of 8




                                                 14.

        After being discriminatorily promoted to executive director, Mr. Boe took a direct and

discriminatory course of action to intentionally discriminate against Plaintiff solely because of her

race and sex in violation of law.

                                                 15.

        Plaintiff was discriminatorily denied promotion December 5, 2017.

                                                 16.

        Plaintiff complained to management for defendants that she was being discriminated against

in the denial of her promotion. Specifically, Plaintiff told Peggy Joseph that the denial of the

promotion was discriminatory, that Plaintiff was the most qualified person for the position and that

there was no reason for the denial and being passed over for promotion other than Plaintiff being a

black female.

                                                 17.

        Plaintiff filed a complaint with the Equal Employment Opportunity Commission on May 7,

2018.

                                                 18.

        Plaintiff received her right to sue letters on May 7, 2019.

                                                 19.

        In retaliation for Plaintiff’s complaints and engaging in protected activity, Plaintiff was

demoted and then terminated on December 22, 2019.

                                                 20.

        Plaintiff’s termination was in violation of 42 U.S.C. § 1981, Title VII and La. R.S. 23:967.

                                                 21.
        Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 5 of 8




       Plaintiff’s paychecks were issued by Defendant St. James Parish.



                                                 22.

       Plaintiff’s retirement and benefits were paid and managed by Defendant St. James Parish.

                                                 23.

       The decision to terminate Plaintiff was made, upon information and belief by the board of

supervisors, who comprise St. James Parish officials.

                                                 24.

       Gary Boe actively scoured Plaintiff’s personnel file, computer and communications in a

direct effort to retaliate against Plaintiff and terminate her based upon trumped up pretextual

allegations that did not rise to the level of employment action unless and until Plaintiff engaged in

protected activity.

                                                 25.

       Plaintiff was singled out and intentionally discriminated against by the defendants because

of plaintiffs' race, sex and national origin in violation of La. R.S. 23:302 et. seq. and Title 23 §

332(A)(1) et. Seq. Title VII of the civil rights act of 1964, 42 U.S.C. § 2000e, et. seq., 42 U.S.C. §

1981(a).

                                                 26.

       The harassment by defendants’ management and owners started at the time of employment

Gary Boe and continue until Plaintiff’s termination.

                                                 27.

       Additionally, Plaintiff has suffered intentional infliction of emotional distress by defendants

and their employees, owners and managers on a continuing basis throughout her employment,
        Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 6 of 8




constituting a continuing intentional tort.

                                               28.

       Plaintiff received no training on discrimination and harassment in the work place and to

plaintiffs’ knowledge, neither did management.

                                               29.

       Due the acts of the defendants outlined herein, Plaintiff suffered and continues to suffer:

       A.      Conscious pain and suffering;

       B.      Physical injury;

       C.      Great mental distress;

       D.      Humiliation;

       E.      Emotional distress;

       F.      Loss of income and employment;

       G.      Loss of employability;

       H.      Loss of benefits;

       I.      Loss of wages, past, present and future;

       J.      Loss of anticipated wages which would have resulted from promotion;

       K.      Loss of promotion;

       L.      Defamation;

       M.      Loss of employability;

       N.      Punitive Damages;

       O.      Attorneys fees;

       P.      Costs;

       Q.      Interest on damages;
        Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 7 of 8




        R.      Interest on attorney’s fees’

        S.      Other losses and injuries which will be shown at trial on the merits.

                                                  30.

        Plaintiff is entitled to attorney's fees pursuant to Louisiana Revised Statute Title 23 § 303(A)

et. seq., La. R.S. 23 § 967, La. R.S. 23 § 632, Title VII and 42 U.S.C. 2000e-5(g)(2) along with

interest on attorneys fees according to law.

                                                  31.

        Plaintiff is entitled to punitive damages pursuant to Title VII of the civil rights act of 1964,

42 U.S.C. § 2000e, et. seq. and 42 U.S.C. § 1981(a).

                                                  32.

        The Claims of plaintiff are continuing in nature and as a result relate back to the earliest date

of discrimination.

                                                  33.

        Pursuant to the Seventh Amendment of the Constitution of the United States and Rule 38 of

the Federal Rules of Civil Procedure, Plaintiff hereby formally requests his right to try this case in

front of a jury of his peers.

                                                  34.

        The defendants are jointly liable for the claims asserted in herein and due to the intentional

nature of the allegations, the plaintiffs are in solido liable for the damages sustained by Plaintiff.

        WHEREFORE, Plaintiff JOCYNTIA BANNER prays that Defendants St. James Parish, a

division of the State of Louisiana Timothy P. Roussel, President of St. James Parish, The St. James

Parish Council, a political subdivision of St. James Parish Government,               the River Parish

Convention, Tourist and Visitors District, D/b/a/ River Parishes Tourist Commission, a division of
       Case 2:19-cv-10653-NJB-JVM Document 2 Filed 05/24/19 Page 8 of 8




St. James Parish, Gary Boe, executive director of the River Parish Convention, Tourist and Visitors

District, D/B/A/ River Parishes Tourist Commission a division of St. James Parish be cited and

summoned with a copy of this complaint and cited to appear and answer same within the delays

provided by law and that after the expiration of all legal delays and after due proceedings are held

that there be judgment rendered in favor of Plaintiff and against Defendants in solido for such

damages as are reasonable in the premises, including but not limited to General damages, Special

damages, statutory damages, punitive damages, attorney's fees and costs together with legal interest

thereon from the date of judicial demand, interest on attorney's fees until paid and any other relief

justice and equity demand.

                                              Respectfully submitted by:

                                              /s/Jean-Paul Robert
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